USCA4 Appeal: 07-4115   Doc: 88    Filed: 04/30/2008   Pg: 1 of 2


                                                           Filed: April 30, 2008


                            UNITED STATES COURT OF APPEALS
                                FOR THE FOURTH CIRCUIT

                           ________________________________

                          BRIEFING ORDER-CRIMINAL/GRAND JURY
                           _________________________________

        No. 07-4059 (L), US v. Learley R. Goodwin
                         8:04-cr-00235-RWT

        The Briefs and Appendix shall be served and filed within the
        time provided in the following schedule:
        Appendix due: 06/04/2008

        Appellant's Opening Brief due: 06/04/2008

        Appellee's Response Brief due: 06/30/2008

        Reply Brief permitted within 10 calendar days of service of
        Response Brief

        The Briefs and Appendix must conform to the Rule Requirements
        for Preparation of Briefs and Appendices and the Fourth Circuit
        Checklist for Briefs and Appendices, which set forth the
        applicable Federal and Local Rules. These documents are
        available as links from this order and at the Court's web site,
        www.ca4.uscourts.gov.

        All parties to a side must join in a single brief, even in
        consolidated cases, unless the Court has granted a motion for
        leave to file separate briefs pursuant to Local Rules 28(a) and
        28(d). Each side must notify the court of the attorney who has
        been designated as lead counsel within 10 days of the date of
        this order. A governmental and a non-governmental party are not,
        however, required to join in one brief.

        Failure to file an Opening Brief within the scheduled time may
        lead to imposition of sanctions against court-appointed counsel
        or dismissal of the case pursuant to Local Rule 45 for failure
        to prosecute; failure to file a Response Brief will result in
        loss of the right to be heard at oral argument and may lead to
        imposition of sanctions if counsel has failed to comply with the
        court's directives. The Court discourages motions for extension
        of time and grants extensions of the briefing schedule only in
USCA4 Appeal: 07-4115   Doc: 88   Filed: 04/30/2008   Pg: 2 of 2


        extraordinary circumstances upon a showing of good cause. Local
        Rule 31(c). If a brief is filed after its due date, the time for
        filing briefs in the schedule will be extended by the number of
        days the brief was late.

        Failure to file an adequate Appendix containing all portions of
        the record necessary for review of the issues will result in the
        return of the Appendix for correction; deficiencies generally
        will not be remedied by reference to the record. The party at
        fault will be required to bear the cost of filing a Corrected
        Appendix regardless of the outcome of the case.

        Pursuant to Local Rule 34(a), the Court may, on its own
        initiative and without prior notice, screen an appeal for
        decision on the parties' briefs without oral argument. If a case
        is selected for the oral argument calendar, counsel will receive
        notice that the case has been tentatively calendared for a
        specific court session approximately 45 days in advance of the
        session. Counsel will be afforded 10 days to file any motions
        that would affect the argument of the case. All parties to a
        side must share the time allotted for oral argument pursuant to
        Local Rules 28(d) and 34(d).

        Anders Procedures: If defendant's counsel finds no appealable
        issue and therefore intends to file a brief under Anders v.
        California, 386 U.S. 738 (1967), the following procedures apply:
        (1) because counsel and the Court must review the entire record
        in an Anders appeal, counsel must order all transcript (with the
        hearings); (2) if the Anders brief is being filed in a
        consolidated case in which co-defendants are not proceeding
        under Anders, counsel must prepare a separate Opening Brief and
        move to deconsolidate the Anders appeal; (3) an Anders brief
        that simply states there are no appealable issues is
        insufficient--rather, counsel's Opening Brief must identify any
        arguable issues with appropriate record citations and state, in
        a brief discussion with case citation, why such issues lack
        merit; (4) the certificate of service for counsel's Anders brief
        must state that the brief was served on the defendant and that
        the defendant was informed of the right to file an Anders Pro Se
        Brief raising additional issues; (5) if the defendant is non-
        English speaking, counsel must arrange for a translator to
        assist in translation of documents and translation of any pro se
        brief; (6) since the Court must review the entire record, an
        Appendix is permitted but not required in Anders cases.

                                  /s/ PATRICIA S. CONNOR, CLERK
                                  By: Sharon A. Wiley, Deputy Clerk
